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                                 UNITED STATES DISTRICT COURT
 9
                            NORTHERN DISTRICT OF CALIFORNIA
10
                                      OAKLAND DIVISION
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     IN RE:                                    Case No. 13-md-02420 (YGR)
13
     LITHIUM ION BATTERIES ANTITRUST           MDL No. 2420
14   LITIGATION
                                               CLASS ACTION
15
                                               The Honorable Yvonne Gonzalez Rogers
16   This Document Relates to:
                                               [PROPOSED] ORDER SETTING A
17   ALL ACTIONS                               HEARING DATE FOR DEFENDANTS’
                                               MOTIONS TO DISMISS
18

19                                             Date:       August 8, 2014
                                               Time:       9:00 a.m.
20                                             Judge:      Hon. Yvonne Gonzalez Rogers
                                               Location:   Courtroom 5
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         [PROPOSED] ORDER SETTING A HEARING DATE FOR DEFENDANTS’ MOTIONS TO DISMISS
                                   CASE NO. 13-md-02420 (YGR)
     Case 4:13-md-02420-YGR Document 448 Filed 05/15/14 Page 2 of 2



 1          On May 9, 2014, the Court held a hearing regarding Defendants’ Joint Supplemental

 2   Motion to Dismiss the Indirect Purchaser Plaintiffs’ Consolidated Amended Complaint (Phase II).

 3   At the conclusion of oral argument on Defendants’ motion, the Court addressed procedural issues

 4   relating to Certain Defendants’ Joint Motion to Dismiss the Direct Purchaser Plaintiffs’ Second

 5   Consolidated Amended Complaint, as well as motions to dismiss Direct Purchaser Plaintiffs’

 6   Second Consolidated Amended Complaint and/or the Indirect Purchaser Plaintiffs’ Corrected

 7   Consolidated Second Amended Class Action Complaint filed by individual Defendants on April

 8   25, 2014 and pending before the Court [Docket Nos. 424, 425, 426, 427, 428, 429, 430 and 431]

 9   (collectively, “Defendants’ Motions to Dismiss”).

10          To facilitate the scheduling of a hearing for Defendants’ Motions to Dismiss, the Court

11   requested that Interim Liaison Counsel for the Direct Purchaser Plaintiffs and Indirect Purchaser

12   Plaintiffs (collectively, “Plaintiffs’ Liaison Counsel”) confer with Defendants and submit a

13   proposed order regarding a hearing date. After considering the proposed order submitted by

14   Plaintiffs’ Liaison Counsel, the Court ORDERS the following:
15          1.      Defendants’ Motions to Dismiss shall be heard before this Court on August 8,

16   2014 at 9:00 a.m.

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18          IT IS SO ORDERED.
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20   Dated: May 15, 2014
                                                          YVONNE GONZALEZ ROGERS
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                                                          UNITED STATES DISTRICT JUDGE
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          [PROPOSED] ORDER SETTING A HEARING DATE FOR DEFENDANTS’ MOTIONS TO DISMISS
                                    CASE NO. 13-md-02420 (YGR)
